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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                               Case No.:
      JARDINE GOUGIS,
11                 Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                                 RELIEF AND DAMAGES FOR
12          vs.                                  VIOLATION OF:
13                                               1. AMERICANS WITH DISABILITIES
                                                 ACT, 42 U.S.C. §12131 et seq.;
14
      GLENDALE RAMS, LLC; and DOES 1 to          2. CALIFORNIA’S UNRUH CIVIL
15    10,                                        RIGHTS ACT, CAL CIV. CODE §§ 51 -
                                                 52 et seq.;
16                 Defendants.
                                                 3. CALIFORNIA’S DISABLED
17                                               PERSONS ACT, CAL CIV. CODE §54 et
                                                 seq.
18
                                                 4. CALIFORNIA HEALTH & SAFETY
19                                               CODE § 19955, et seq.
20                                               5. NEGLIGENCE
21
22
23
24
25          Plaintiff JARDINE GOUGIS (“Plaintiff”) complains of GLENDALE RAMS,

26    LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

27    //

28    //



                                         COMPLAINT - 1
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 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    substantially limited in her ability to walk due to osteoarthritis on both hips. Plaintiff
 4    requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a flower shop
 7    (“Business”) located at or about 1629 W. Glenoaks Blvd., Glendale, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 to 10, and each of them, are unknown to Plaintiff, who
10    therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of Court
11    to amend this Complaint when the true names and capacities have been ascertained.
12    Plaintiff is informed and believes and, based thereon, alleges that each such fictitiously
13    named Defendants are responsible in some manner, and therefore, liable to Plaintiff for
14    the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.)
28




                                             COMPLAINT - 2
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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and Plaintiff’s causes of action arose in this district.
 9                                   FACTUAL ALLEGATIONS
10          10.    In or about September of 2022, Plaintiff went to the Business.
11          11.    The Business is a flower shop business establishment, open to the public,
12    and is a place of public accommodation and affects commerce through its operation.
13    Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with her ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to post required signage such as “Van Accessible.”
22                 b.     Defendants failed to maintain the parking space designated for
23                        persons with disabilities to comply with the federal and state
24                        standards. Defendants failed to clear the van accessible space
25                        designated for the persons with disabilities as there were obstructions
26                        on the van access aisle.
27                 c.     Defendants failed to maintain the parking space designated for
28                        persons with disabilities to comply with the federal and state



                                              COMPLAINT - 3
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 1                        standards. Defendants failed to maintain the paint on the ground as
 2                        required.
 3                 d.     Defendants failed to maintain the parking space designated for
 4                        persons with disabilities to comply with the federal and state
 5                        standards. Defendants failed to maintain the mark on the space with
 6                        the International Symbol of Accessibility.
 7                 e.     Defendants failed to maintain the parking space designated for
 8                        persons with disabilities to comply with the federal and state
 9                        standards. Defendants failed to provide the access aisles with level
10                        surface slopes.
11          14.    These barriers and conditions denied Plaintiff the full and equal access to the
12    Business and caused her difficulty and frustration. Plaintiff wishes to return and patronize
13    the Business, however, Plaintiff is deterred from visiting the Business because her
14    knowledge of these violations prevents her from returning until the barriers are removed.
15          15.    Based on the violations, Plaintiff alleges, on information and belief, that
16    there are additional barriers to accessibility at the Business after further site inspection.
17    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
18    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
19          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
20    knew that particular barriers render the Business inaccessible, violate state and federal
21    law, and interfere with access for the physically disabled.
22          17.    At all relevant times, Defendants had and still have control and dominion
23    over the conditions at this location and had and still have the financial resources to
24    remove these barriers without much difficulty or expenses to make the Business
25    accessible to the physically disabled in compliance with ADDAG and Title 24
26    regulations. Defendants have not removed such barriers and have not modified the
27    Business to conform to accessibility regulations.
28    //



                                             COMPLAINT - 4
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 1                                    FIRST CAUSE OF ACTION
 2        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3          18.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6    shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7    the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8    public accommodation by any person who owns, leases, or leases to, or operates a place
 9    of public accommodation. See 42 U.S.C. § 12182(a).
10          20.    Discrimination, inter alia, includes:
11                 a.    A failure to make reasonable modification in policies, practices, or
12                       procedures, when such modifications are necessary to afford such
13                       goods, services, facilities, privileges, advantages, or accommodations
14                       to individuals with disabilities, unless the entity can demonstrate that
15                       making such modifications would fundamentally alter the nature of
16                       such goods, services, facilities, privileges, advantages, or
17                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                 b.    A failure to take such steps as may be necessary to ensure that no
19                       individual with a disability is excluded, denied services, segregated or
20                       otherwise treated differently than other individuals because of the
21                       absence of auxiliary aids and services, unless the entity can
22                       demonstrate that taking such steps would fundamentally alter the
23                       nature of the good, service, facility, privilege, advantage, or
24                       accommodation being offered or would result in an undue burden. 42
25                       U.S.C. § 12182(b)(2)(A)(iii).
26                 c.    A failure to remove architectural barriers, and communication barriers
27                       that are structural in nature, in existing facilities, and transportation
28                       barriers in existing vehicles and rail passenger cars used by an



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 1                        establishment for transporting individuals (not including barriers that
 2                        can only be removed through the retrofitting of vehicles or rail
 3                        passenger cars by the installation of a hydraulic or other lift), where
 4                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                 d.     A failure to make alterations in such a manner that, to the maximum
 6                        extent feasible, the altered portions of the facility are readily
 7                        accessible to and usable by individuals with disabilities, including
 8                        individuals who use wheelchairs or to ensure that, to the maximum
 9                        extent feasible, the path of travel to the altered area and the
10                        bathrooms, telephones, and drinking fountains serving the altered
11                        area, are readily accessible to and usable by individuals with
12                        disabilities where such alterations to the path or travel or the
13                        bathrooms, telephones, and drinking fountains serving the altered
14                        area are not disproportionate to the overall alterations in terms of cost
15                        and scope. 42 U.S.C. § 12183(a)(2).
16          21.    Where parking spaces are provided, accessible parking spaces shall be
17    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21    be van parking space. 2010 ADA Standards § 208.2.4.
22          22.    Under the ADA, the method and color of marking are to be addressed by
23    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24    Building Code (“CBC”), the parking space identification signs shall include the
25    International Symbol of Accessibility. Parking identification signs shall be reflectorized
26    with a minimum area of 70 square inches. Additional language or an additional sign
27    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28    parking space identification sign shall be permanently posted immediately adjacent and



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 1    visible from each parking space, shall be located with its centerline a maximum of 12
 2    inches from the centerline of the parking space and may be posted on a wall at the
 3    interior end of the parking space. See CBC § 11B-502.6, et seq.
 4          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5    each entrance to an off-street parking facility or immediately adjacent to on-site
 6    accessible parking and visible from each parking space. The additional sign shall not be
 7    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9    designated accessible spaces not displaying distinguishing placards or special license
10    plates issued for persons with disabilities will be towed always at the owner’s expense…”
11    See CBC § 11B-502.8, et seq.
12          24.    Here, Defendants failed to provide signs stating such as “Van Accessible.”
13          25.    For the parking spaces, access aisles shall be marked with a blue painted
14    borderline around their perimeter. The area within the blue borderlines shall be marked
15    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
16    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
17    be painted on the surface within each access aisle in white letters a minimum of 12 inches
18    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
19    11B-502.3.3.
20          26.    Here, Defendants failed to properly maintain the access aisles as there were
21    no “NO PARKING” and faded blue lines painted on the parking surface. Moreover,
22    Defendants failed to clear the access aisle as there were obstructions such as bollards.
23          27.    The surface of each accessible car and van space shall have surface
24    identification complying with either of the following options: The outline of a profile
25    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
26    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
27    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
28    length of the parking space and its lower side or corner aligned with the end of the



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 1    parking space length or by outlining or painting the parking space in blue and outlining
 2    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 3    occupant. See CBC § 11B-502.6.4, et seq.
 4          28.    Here, Defendants failed to maintain the mark on the surface with the
 5    International Symbol of Accessibility as required.
 6          29.    Under the 1991 Standards, parking spaces and access aisles must be level
 7    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 8    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 9    shall be part of an accessible route to the building or facility entrance and shall comply
10    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
11    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
12    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
13    directions. 1991 Standards § 4.6.3.
14          30.    Here, the access aisle is not level with the parking space. Under the 2010
15    Standards, access aisles shall be at the same level as the parking spaces they serve.
16    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
17    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
18    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
19          31.    A public accommodation shall maintain in operable working condition those
20    features of facilities and equipment that are required to be readily accessible to and usable
21    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
22    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
23    violation of Plaintiff’s rights under the ADA and its related regulations.
24          32.    The Business has denied and continues to deny full and equal access to
25    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
26    discriminated against due to the lack of accessible facilities, and therefore, seeks
27    injunctive relief to alter facilities to make such facilities readily accessible to and usable
28    by individuals with disabilities.



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 1                                  SECOND CAUSE OF ACTION
 2                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3          33.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          34.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7    national origin, disability, medical condition, genetic information, marital status, sexual
 8    orientation, citizenship, primary language, or immigration status are entitled to the full
 9    and equal accommodations, advantages, facilities, privileges, or services in all business
10    establishments of every kind whatsoever.”
11          35.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13    for each and every offense for the actual damages, and any amount that may be
14    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16    attorney’s fees that may be determined by the court in addition thereto, suffered by any
17    person denied the rights provided in Section 51, 51.5, or 51.6.
18          36.    California Civil Code § 51(f) specifies, “a violation of the right of any
19    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20    shall also constitute a violation of this section.”
21          37.    The actions and omissions of Defendants alleged herein constitute a denial
22    of full and equal accommodation, advantages, facilities, privileges, or services by
23    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25    51 and 52.
26          38.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28    damages as specified in California Civil Code §55.56(a)-(c).



                                              COMPLAINT - 9
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 1                                 THIRD CAUSE OF ACTION
 2               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3         39.    Plaintiff incorporates by reference each of the allegations in all prior
 4   paragraphs in this complaint.
 5         40.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6   entitled to full and equal access, as other members of the general public, to
 7   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12   places of public accommodations, amusement, or resort, and other places in which the
13   general public is invited, subject only to the conditions and limitations established by
14   law, or state or federal regulation, and applicable alike to all persons.
15         41.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16   corporation who denies or interferes with admittance to or enjoyment of public facilities
17   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19   the actual damages, and any amount as may be determined by a jury, or a court sitting
20   without a jury, up to a maximum of three times the amount of actual damages but in no
21   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22   determined by the court in addition thereto, suffered by any person denied the rights
23   provided in Section 54, 54.1, and 54.2.
24         42.    California Civil Code § 54(d) specifies, “a violation of the right of an
25   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26   constitute a violation of this section, and nothing in this section shall be construed to limit
27   the access of any person in violation of that act.
28




                                           COMPLAINT - 10
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 1         43.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, and facilities by physically disabled
 3   persons within the meaning of California Civil Code § 54. Defendants have
 4   discriminated against Plaintiff in violation of California Civil Code § 54.
 5         44.    The violations of the California Disabled Persons Act caused Plaintiff to
 6   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7   statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                FOURTH CAUSE OF ACTION
 9                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
10         45.    Plaintiff incorporates by reference each of the allegations in all prior
11   paragraphs in this complaint.
12         46.    Plaintiff and other similar physically disabled persons who require the use of
13   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
14   such facility is in compliance with the provisions of California Health & Safety Code §
15   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
16   provisions of California Health & Safety Code § 19955 et seq.
17         47.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
18   that public accommodations or facilities constructed in this state with private funds
19   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
20   Title 1 of the Government Code. The code relating to such public accommodations also
21   require that “when sanitary facilities are made available for the public, clients, or
22   employees in these stations, centers, or buildings, they shall be made available for
23   persons with disabilities.
24         48.    Title II of the ADA holds as a “general rule” that no individual shall be
25   discriminated against on the basis of disability in the full and equal enjoyment of goods
26   (or use), services, facilities, privileges, and accommodations offered by any person who
27   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
28   Further, each and every violation of the ADA also constitutes a separate and distinct



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 1   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 2   award of damages and injunctive relief pursuant to California law, including but not
 3   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 4                                   FIFTH CAUSE OF ACTION
 5                                         NEGLIGENCE
 6          49.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8          50.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10   to the Plaintiff.
11          51.    Defendants breached their duty of care by violating the provisions of ADA,
12   Unruh Civil Rights Act and California Disabled Persons Act.
13          52.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14   has suffered damages.
15                                     PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17   Defendants as follows:
18          1.     For preliminary and permanent injunction directing Defendants to comply
19   with the Americans with Disability Act and the Unruh Civil Rights Act;
20          2.     Award of all appropriate damages, including but not limited to statutory
21   damages, general damages and treble damages in amounts, according to proof;
22          3.     Award of all reasonable restitution for Defendants’ unfair competition
23   practices;
24          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25   action;
26          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27          6.     Such other and further relief as the Court deems just and proper.
28   //



                                            COMPLAINT - 12
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
 4
 5   Dated: December 27, 2022                       SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                           By:    _/s/ Jason J. Kim________
                                                    Jason J. Kim, Esq.
 9                                                  Attorneys for Plaintiff
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